                Case 21-21053-jrs                 Doc 1     Filed 10/05/21 Entered 10/05/21 18:22:13                             Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Extrusion Group, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5665 Atlanta Hwy
                                  Suite 102B- 204
                                  Alpharetta, GA 30004
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Forsyth                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Extrusion Group, LLC                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




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Debtor    Extrusion Group, LLC                                                                            Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   Extrusion Group, LLC                                                          Case number (if known)
         Name

                                $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Extrusion Group, LLC                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 5, 2021
                                                  MM / DD / YYYY


                             X   /s/ Micheal T. Houston                                                   Micheal T. Houston
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ William A. Rountree                                                   Date October 5, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 William A. Rountree
                                 Printed name

                                 Rountree, Leitman & Klein, LLC
                                 Firm name

                                 Century Plaza I
                                 2987 Clairmont Road, Ste 350
                                 Atlanta, GA 30329
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     404-584-1238                  Email address      swenger@rlklawfirm.com

                                 616503 GA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Debtor     Extrusion Group, LLC                                                              Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                    Chapter     11
                                                                                                                          Check if this an
                                                                                                                          amended filing




                                                          FORM 201. VOLUNTARY PETITION

                                                     Pending Bankruptcy Cases Attachment



Debtor     EG Global, LLC                                                           Relationship to you               Affiliate
District   Northern District of Georgia               When     10/05/21             Case number, if known
Debtor     EG Ventures, LLC                                                         Relationship to you               Affiliate
District   Northern District of Georgia               When     10/05/21             Case number, if known
Debtor     Extrusion Group Services, LLC                                            Relationship to you               Affiliate
District   Northern District of Georgia               When     10/05/21             Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 6
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 Fill in this information to identify the case:
 Debtor name Extrusion Group, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                GEORGIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Arnall Golden                                                   Legal fees                                                                                               $86,006.00
 Gregory LLP                     creditremit@agg.c
 171 17th Street, NW,            om
 Ste 2100
 Atlanta, GA 30363
 ARTechnical                                                     Independent                                                                                                $5,564.00
 Solutions, LLC                  aromero@extrusio                Contractor
 6006 Eagle Tiff Lane            ngroup.com
 Sugarhill, GA 30518
 ASQ Consulting                                                  Expert witness                                                                                         $450,337.50
 Group, LLC                      lisa.snell@asqcons
 720 Rusk Street,                ulting.com
 Suite 425
 Houston, TX 77002
 Barnes & Thornburg                                              Legal fees                                                                                           $3,028,235.32
 LLP                             jeff.morgan@btlaw.
 Prominence in                   com
 Buckhead, 3475
 Piedmont Rd, N.E.
 Ste 1700
 Atlanta, GA 30305
 Consilio                                           Document                            Unliquidated                                                                    $115,736.54
 1828 L St. NW                   accountsreceivable Storage                             Disputed
 Suite 1070                      @consilio.com
 Washington, DC
 20036
 D & P Properties                                                Storage unit                                                                                               $2,200.00
 2121 Peachtree                  rbvalles68@gmail.c
 Industrial Blvd                 om
 Buford, GA 30518
 Everlaw, Inc.                                      Document                                                                                                              $33,709.00
 2101 Webster St                 billing@everlaw.co Storage
 Suite 1500                      m
 Oakland, CA 94612
 Foley & Lardner LLP                                             Legal fees             Disputed                                                                          $61,871.67
 2020 McKinney Ave               Fax 214 999-4667
 Suite 1600
 Dallas, TX 75201

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Extrusion Group, LLC                                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Kimberly-Clark Corp                                             Litigation             Contingent                                                                                $0.00
 400 Goody's Ln      james.lamberth@tr                                                  Unliquidated
 Ste 100             outman.com                                                         Disputed
 Knoxville, TN 37922 mreiter@gibsondu
                     nn.com
 Kimberly-Clark                                                  Litigation             Contingent                                                                                $0.00
 Global Sales        james.lamberth@tr                                                  Unliquidated
 LLC, 400 Goody's    outman.com                                                         Disputed
 Ln,                 mreiter@gibsondu
 Ste 100             nn.com
 Knoxville, TN 37922
 Mark Lanterman                                                  Computer                                                                                                 $20,351.25
 800 Hennepin Ave    mlanterman@comp                             Forensic Services
 5th Floor           forensics.com
 Minneapolis, MN
 55403
 Prof. Tim A.                                                    Expert witness                                                                                           $51,700.00
 Osswald             tosswald@wisc.ed
 1809 Madison St.    u
 Madison, WI 53711
 The Central                                                     General Liability                                                                                            $854.00
 Insurance Co        csnelling@snelling                          Insurance
 11605 Haynes        walters.com
 Bridge Rd Ste 500   sbrown@snellingw
 Marietta, GA 30090  alters.com
 The Hartford                                                    Workers                                                                                                      $951.00
 PO Box 660916       csnelling@snelling                          compensation
 Dallas, TX          walters.com                                 Insurance
 75266-0916          sbrown@snellingw
                     alters.com




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                                                      Northern District of Georgia
 In re      Extrusion Group, LLC                                                                     Case No.
                                                                                   Debtor(s)         Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:       October 5, 2021                                            /s/ Micheal T. Houston
                                                                        Micheal T. Houston/CEO
                                                                        Signer/Title




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                         Arnall Golden Gregory LLP
                         171 17th Street, NW, Ste 2100
                         Atlanta, GA 30363



                         ARTechnical Solutions, LLC
                         6006 Eagle Tiff Lane
                         Sugarhill, GA 30518



                         ASQ Consulting Group, LLC
                         720 Rusk Street, Suite 425
                         Houston, TX 77002



                         Barnes & Thornburg LLP
                         Prominence in Buckhead, 3475
                         Piedmont Rd, N.E. Ste 1700
                         Atlanta, GA 30305



                         Charter HR PEO
                         PO BOx 759
                         Alexander City, AL 35011



                         Consilio
                         1828 L St. NW
                         Suite 1070
                         Washington, DC 20036



                         D & P Properties
                         2121 Peachtree Industrial Blvd
                         Buford, GA 30518



                         EG Global, LLC
                         5665 Atlanta Hwy
                         Suite 102B-204
                         Alpharetta, GA 30004



                         EG Ventures, LLC
                         5665 Atlanta Hwy
                         Suite 102B-204
                         Alpharetta, GA 30004
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                     Everlaw, Inc.
                     2101 Webster St
                     Suite 1500
                     Oakland, CA 94612



                     Extrusion Group Services, LLC
                     5665 Atlanta Hwy
                     Suite 102B-204
                     Alpharetta, GA 30004



                     Foley & Lardner LLP
                     2020 McKinney Ave
                     Suite 1600
                     Dallas, TX 75201



                     Georgia Department of Labor
                     148 Andew Young Int'l Blvd. NE
                     Atlanta, GA 30303



                     Georgia Department of Revenue
                     1800 Centrury Center Blvd
                     Suite 9100
                     Atlanta, GA 30345



                     Gibson Dunn & Crutcher LLP-TX
                     c/o Mark N. Reiter
                     2100 McKinney Ave 11th floor
                     Dallas, TX 75201



                     Internal Revenue Service
                     PO Box 7346
                     Philadelphia, PA 19101



                     Kimberly-Clark Corp
                     400 Goody's Ln
                     Ste 100
                     Knoxville, TN 37922
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                     Kimberly-Clark Global Sales
                     LLC, 400 Goody's Ln,
                     Ste 100
                     Knoxville, TN 37922



                     Mark Lanterman
                     800 Hennepin Ave 5th Floor
                     Minneapolis, MN 55403



                     Prof. Tim A. Osswald
                     1809 Madison St.
                     Madison, WI 53711



                     Snelling Walters
                     1117 Perimeter Ctr W
                     Ste W101
                     Atlanta, GA 30338



                     The Central Insurance Co
                     11605 Haynes Bridge Rd Ste 500
                     Marietta, GA 30090



                     The Hartford
                     PO Box 660916
                     Dallas, TX 75266-0916



                     Troutman Pepper Hamilton
                     Sanders LLP c/o James Lamberth
                     600 Peachtree St NE, Ste 3000
                     Atlanta, GA 30308
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                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      Extrusion Group, LLC                                                                           Case No.
                                                                                    Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Extrusion Group, LLC in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 October 5, 2021                                                       /s/ William A. Rountree
 Date                                                                  William A. Rountree
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Extrusion Group, LLC
                                                                       Rountree, Leitman & Klein, LLC
                                                                       Century Plaza I
                                                                       2987 Clairmont Road, Ste 350
                                                                       Atlanta, GA 30329
                                                                       404-584-1238 Fax:404 704-0246
                                                                       swenger@rlklawfirm.com




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